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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION



 BRIAN ANTHONY BUCK                         §
                                            §
 V.                                         §          1:00-CR-105
                                            §
 UNITED STATES OF AMERICA                   §


                ORDER DENYING MOTION FOR TRANSCRIPTS


       Defendant, proceeding pro se, moves the court to provide him copies of all

 documents filed in this matter, as well as transcripts of all hearings held. The motion

 is referred to the undersigned for determination. Docket No. 65.


       In this action, defendant was convicted – following his guilty plea – of

 possessing cocaine base, with intent to distribute, in violation of 21 U.S.C. §

 841(a)(1). The court sentenced defendant to 72 months imprisonment, followed by

 a 3-year term of supervised release, on September 19, 2003. Docket No. 62.


       Defendant has not tendered requisite fees for the documents requested.

 Although he was determined to be indigent at the outset of this action, there is no

 pending direct appeal, nor is one permitted at this late date, almost two years

 following entry of judgment. Fed. R. App. P. 4(b). Moreover, defendant’s separate

 collateral attack on his conviction, a motion to vacate under 28 U.S.C. § 2255, has
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 been denied by this court. Case No. 1:05-cv-90, Docket No. 8. Thus, the requested

 transcripts are not needed in connection with any pending issue. It is therefore


       ORDERED that defendant’s motion requesting copies of documents and

 transcripts (Docket No. 64) is DENIED.


       SIGNED this 11th day of July, 2005.




                                        __________________________________________
                                        Earl S. Hines
                                        United States Magistrate Judge
